                        IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                   NORTHERN DIVISION

 IN RE:        MDM HOLDINGS, INC.                 )               Case No.: 19-82531-CRJ-11
                                                  )
               EIN: xx-xxx3287                    )
                                                  )
                   Debtor.                        )               CHAPTER 11
                                                  )

       REPORT TO COURT CONCERNING DEBTOR’S REVENUE AND EXPENSES
                DURING THE CASE’S FIRST TWENTY-ONE DAYS

          COMES NOW MDM Holdings, Inc. (the “Debtor”) and reports to this Honorable Court the
 following:

          1.       During the first twenty-one days of this Chapter 11 bankruptcy case (August 22, 2019 –
 September 12, 2019), the Debtor reports net revenue of $31,326.52 and total expenses of $28,485.28,
 resulting in a net income of $2,841.24 during this period.

          2.       The Debtor also reports that it currently has six employees. The Debtor’s equity owner
 and principal, Michael McKeon, does not receive a salary. The Debtor pays Mr. McKeon’s wife, Deb
 McKeon, $4,166.67 a month for work as an employee of the Debtor.

          3.       An itemized revenue report is attached hereto as Exhibit “A.”

          Respectfully submitted this the 14th day of September, 2019.

                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard III
                                                 Tazewell T. Shepard IV
                                                 Attorneys for the Debtor

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                                    CERTIFICATE OF SERVICE

         This is to certify that this the 14th day of September, 2019, I have served the foregoing report
 on all parties requesting notice, all parties listed on the Clerk’s Certified Matrix and Richard Blythe,
 Office of the Bankruptcy Administrator, by electronic service through the Court’s CM/ECF system
 and/or by placing a copy of same in the United States Mail, postage pre-paid.

                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard IV




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MDM Holding - Revenue Report - First 21 Days                          Aug. 22 - Sept. 12 2019
    Ordinary Income/Expense
           Income
               5000 · Revenue                                                           31,327
           Total Income                                                              31,326.52
        Gross Profit                                                                 31,326.52
           Expense
               7000 · Advertising and Promotion                                        1042.63
               7010 · Bank
                       BankFees
                              Fees                                                      367.74
               7020 · Billing
                       PayrollService
                               Services
                                      Fees Paid                                         151.75
               7030 · Business Licenses and Permits                                     123.66
               7050 · Computer
                       Computerand andInternet
                                         InternetExpenses                               237.95
               7060 · Continuing
                       Seminars, Conventions
                                   Education Conferences                                     0
               7070 · Dues and Subscriptions                                                 0
               7120 · Worker's Compensation                                                306
               7126 · General
                       GeneralLiability
                                LiabilityInsurance
                                           and Business Insurance                       687.83
               7140 · Janitorial Expense                                                     0
               7190 · Office Supplies                                                   143.94
               7200 · Payroll Expenses                                                  12,577
               7205 · Postage and Delivery                                               23.35
               7245 · Repairs
                       Vehicleand
                                Maintenance
                                    Maintenance                                              0
               7250 · Rent Expense                                                        2375
               7260 · Telephone Expense                                                 595.21
               7300 · Material                                                         5094.63
               7310 · Gasoline                                                          820.95
               7310 · Gas
                       Shop Tools                                                            0
               Attorney Fees                                                             3,800
               Accounting Fees                                                             138
               BA Operating Fees                                                             0
           Total Expense                                                             28,485.28
    Net Ordinary Income                                                               2,841.24
Net Income                                                                            2,841.24




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